        Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 1 of 7




   IN THE DISTRICT COURT OF THE UNITED STATES

                     for the Western District of New York
                                    ____________________

                                                                MAY 2019 GRAND JURY
                                                                (Impaneled 05/03/2019)

THE UNITED STATES OF AMERICA
                                                                INDICTMENT
       -vs-

CHRISTOPHER D. CASACCI                                          Violation:
d/b/a Exotic Cubs.com                                           Title 16, United States Code, Sections
                                                                3372(a)(2)(A), 3372(d)(2),
                                                                3373(d)(1)(B), and 3373(d)(3)(A)(ii);
                                                                Title 7, United States Code, Sections
                                                                2134 and 2149(d)
                                                                (33 Counts)


                            INTRODUCTORY ALLEGATIONS

                                The Grand Jury Charges That:

       At all times relevant to this Indictment:

       1.      The defendant, CHRISTOPHER D. CASACCI, was a resident of Amherst,

New York, and operated the website www.exoticcubs.com, which engaged in the import and

retail sale of African wild cats.



       2.      The Lacey Act, 16 U.S.C. §§ 3371 et seq., made it unlawful for any person to

transport, sell, receive, acquire, or purchase in interstate commerce any fish or wildlife, when

the person knew or should have known that fish or wildlife was taken, possessed, transported,

or sold in violation of a wildlife-related law or regulation of a State.
       Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 2 of 7




       3.      Pursuant to New York Environmental Conservation Law Section 11-

0512(1)(a), it was unlawful in New York for any person to knowingly possess, harbor, sell,

barter, transfer, exchange or import any wild animal for use as a pet.



       4.      The Lacey Act also made it unlawful to make or submit any false record,

account, label for or identification of wildlife that has been or is intended to be transported in

interstate or foreign commerce.



       5.      The Animal Welfare Act, 7 U.S.C. § 2134, prohibited anyone acting as a

“dealer” or “exhibitor,” as those terms are defined under 7 U.S.C. §§ 2132, et seq., and the

Act’s implementing regulations, from selling or transporting, or offering to sell or transport,

any animals, unless and until that person has demonstrated compliance with minimum

standards for the humane treatment of animals and has a received a license from the United

States Department of Agriculture (USDA).



       6.      The caracal (Caracal caracal), also known as the “desert lynx,” was a species of

wild cat native to Southern and Eastern Africa. Caracals grow to approximately 45 pounds,

and are nocturnal carnivores typically found in deserts, savannas, and dry forests.



       7.      Caracals have been listed on Appendix II of the Convention on International

Trade in Endangered Species of Wild Fauna and Flora (“CITES”) since 1975.




                                                2
        Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 3 of 7




       8.      The serval (Leptailurus serval) was a species of wild cat native to Africa,

predominately the sub-Saharan region. Servals grow to approximately 40 pounds, and are

crepuscular carnivores typically found in grasslands and wetlands.



       9.      Servals have been listed on Appendix II of CITES since 1977.



                                        COUNTS 1 to 14
                                     (Lacey Act Trafficking)

                            The Grand Jury Further Charges That:

       1.      The Introductory Allegations of this Indictment are incorporated by reference

and re-alleged as if fully set forth herein.



       2.      On or about the dates set forth below, in the Western District of New York,

and elsewhere, the defendant, CHRISTOPHER D. CASACCI, knowingly engaged in

conduct involving the sale of, offer of sale of, and intent to sell the wildlife set forth below,

with a market value in excess of $350, by knowingly selling and transporting such wildlife in

interstate commerce, knowing such wildlife was possessed and transported in violation of the

laws and regulations of New York State, specifically New York Environmental Conservation

Law Section 11-0512(1)(a):

                                                                PURCHASER (each a person
  COUNT                DATE              SPECIES (number)
                                                                 known to the Grand Jury)
                                         Caracal (1)
       1       February 19, 2018                               Person A
                                         Serval (1)
                                         Caracal (1)
       2       February 23, 2018                               Person B
                                         Serval (1)

       3       February 23, 2018         Caracal (1)           Person C


                                                3
        Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 4 of 7




                                                                PURCHASER (each a person
  COUNT                DATE              SPECIES (number)
                                                                 known to the Grand Jury)

       4       March 6, 2018             Caracal (2)            Person D

       5       March 24, 2018            Serval (1)             Person E

       6       March 25, 2018            Caracal (1)            Person D

       7       April 6, 2018             Caracal (1)            Person F

       8       April 8, 2018             Caracal (1)            Person G

       9       April 11, 2018            Serval (1)             Person B

      10       April 20, 2018            Caracal (1)            Person H

      11       May 15, 2018              Caracal (1)            Person I

      12       May 15, 2018              Caracal (1)            Person J

      13       May 16, 2018              Caracal (1)            Person K

      14       June 7, 2018              Serval (1)             Person L


       All in violation of Title 16, United States Code, Sections 3372(a)(2)(A) and

3373(d)(1)(B), and Title 18, United States Code, Section 2.



                                       COUNTS 15 to 18
                                   (Lacey Act False Labeling)

                            The Grand Jury Further Charges That:

       1.      The Introductory Allegations of this Indictment are incorporated by reference

and re-alleged as if fully set forth herein.




                                                 4
        Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 5 of 7




       2.        On about the dates listed below, in the Western District of New York, and

elsewhere, the defendant, CHRISTOPHER D. CASACCI, knowingly engaged in conduct

involving the sale of, offer of sale of, and intent to sell wildlife with a market value greater

than $350, by knowingly making and submitting, and causing to be made and submitted, a

false record, account, label for, and false identification of wildlife, which wildlife were and

were intended to be transported in interstate commerce, in that the defendant falsely labeled,

and caused to be falsely labeled, the animals set forth below:

      COUNT                DATE                DESCRIPTION OF FALSIFICATION

                                               Caracal falsely    labeled   as   a   “CAT-
            15       April 6, 2018
                                               SAVANNAH”
            16       April 10, 2018            Caracal falsely labeled as a “Caracat”
                                               Caracal falsely    labeled   as   a   “CAT-
            17       April 20, 2018
                                               SAVANNAH”
                                               Caracal falsely    labeled   as   a   “CAT-
            18       May 15, 2018
                                               BENGAL”

       All in violation of Title 16, United States Code, Sections 3372(d)(2) and

3373(d)(3)(A)(ii), and Title 18, United States Code, Section 2.



                                        COUNTS 19 to 33
                                      (Animal Welfare Act)

                            The Grand Jury Further Charges That:

       1.        The Introductory Allegations of this Indictment are incorporated by reference

and re-alleged as if fully set forth herein.



       2.        On or about the dates listed below, in the Western District of New York, and

elsewhere, the defendant, CHRISTOPHER D. CASACCI, did knowingly, and while acting


                                                    5
       Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 6 of 7




as a “dealer” under the Animal Welfare Act, sell, transport, and offer to sell and transport, in

interstate commerce for use as pets, the animals set forth below, without demonstrating

compliance with minimum standards for the humane treatment of animals and obtaining the

requisite license from the United States Department of Agriculture:

                                             SPECIES          PURCHASER (each a person
    COUNT               DATE
                                             (number)          known to the Grand Jury)

       19      February 15, 2018           Caracal (1)      Person M

                                           Caracal (1)
       20      February 19, 2018                            Person A
                                           Serval (1)
                                           Caracal (1)
       21      February 23, 2018                            Person B
                                           Serval (1)

       22      February 23, 2018           Caracal (1)      Person C

       23      March 6, 2018               Caracal (2)      Person D

       24      March 24, 2018              Serval (1)       Person E

       25      March 25, 2018              Caracal (1)      Person D

       26      April 6, 2018               Caracal (1)      Person F

       27      April 8, 2018               Caracal (1)      Person G

       28      April 11, 2018              Serval (1)       Person B

       29      April 20, 2018              Caracal (1)      Person H

       30      May 15, 2018                Caracal (1)      Person I

       31      May 15, 2018                Caracal (1)      Person J

       32      May 16, 2018                Caracal (1)      Person K

       33      June 7, 2018                Serval (1)       Person L



                                               6
     Case 1:20-cr-00005-RJA-MJR Document 1 Filed 01/08/20 Page 7 of 7




     All in violation of Title 7, United States Code, Sections 2134 and 2149(d).



     DATED: Buffalo, New York, January 8, 2020.


                                              JAMES P. KENNEDY, JR.
                                              United States Attorney


                                       BY:    S/AARON J. MANGO
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              Western District of New York
                                              138 Delaware Avenue
                                              Buffalo, New York 14202
                                              (716) 843-5882
                                              aaron.mango@usdoj.gov

                                              PATRICK M. DUGGAN
                                              Trial Attorney
                                              Environmental Crimes Section
                                              U.S. Department of Justice
                                              150 M St., NE, Suite 4.123
                                              4 Constitution Square
                                              Washington, D.C. 20002
                                              (202) 305-0366
                                              patrick.duggan@usdoj.gov

A TRUE BILL:


S/FOREPERSON




                                          7
